Case 1:15-cV-02254-ELH Document 1 Filed 07/31/15 Page 1 of 8

UNITED STATES I)ISTRICT COURT
FOR THE DISTRICT OF MARYLAND
{Northern Division)

 

RONALD H. CLARK, INDIVIDUALLY

AND AS PERSONAL REPRESENTATIVE
OF THE ESTA'I`E OF BEATRICE F. CLARK
20 Gristmill Lane

New Cast}e, Delaware 19711

and
COMPLAINT
WANDA WOERNER
2024 Marsh Road
Wilmington, Delaware 19810
Case No.

Pfaintiffs
v.

YOUR DOC’S IN
1511 Ocean Highway
Pocomoke, Md. 21851

Serve:
Walter Giane!le
Chesapeake Medical Solutions LLC
2425 North Salisbury Bivd.
Salisbury, Md. 21801

and

CHESAPEAKE MEDICAL SOLUTIONS, LLC :
2425 N.orth Salisbury Blvd. '
Salisbury, Md. 21801

Serve:
Walter Gianelle
3676 Arrowsmith Drive
Salisbury, Md. 21804

and

Case 1:15-cV-02254-ELH Document 1 Filed 07/31/15 Page 2 of 8

CHESAPEAKE MEDICAL SOLUTIONS, PA
2425 North Sa}isbury Blvd.
Salisbury, Md. 2130]

Serve:
Wa}ter Giane}le
3676 Arrowsmith Drive
Salisbury, Md. 21804

and
JOHN P. VISIOLI, D.O.
1511 Ocean Highway
Pocomoke, Md. 21851

Defendants.

 

COMPLAINT AND ELECTION F()R JURY TRIAL
Plaintiffs, Ronald H. Clark, Individually and as Personal Representative of the Estate of
Beatrice F. Clark, and Wanda Woerner, Individually, by and through undersigned counsel, hereby
Sue the Defendants, Your Doc’S In, Chesapeake Medical Solutions, LLC, Chesapeake Medical
Solutions, PA & John P. Visioli, D.O. and for their causes of action, state as follows:
JURISDICTION AND VENUE

l. This matter Was filed With the Health Care A}ternative Dispute Resolution
Oftice ofMa.ryland on or about July 2, 2015. A copy ofthe Statement of Clairn is attached hereto as
Exhibit A and incorporated herein by reference

2. The Plaintift`s filed Certifrcates of Merit and Reports With the Health Care
Afternative Dispute Resolution Office of Mary}and on or about Juiy 2, 2015 copies of Which are

attached hereto as Exhibit B and incorporated herein by reference

_2_

Case 1:15-cV-02254-ELH Document 1 Filed 07/31/15 Page 3 of 8

3. The Plaintiffs filed an Election to Waive Arbitration With the Health Care
Alternative Dispute Resoiution Office of Maryland on or about July 20,2015, a copy of Which is
attached hereto as Exhibit C and incorporated herein by reference

4. An Order ofTransfer to the United States District Court, District of l\/iaryland
Was issued by the Health Care Alternative Dispute Resolution Ofiice of Maryland on or about July
22, 2015, a copy of Which is attached hereto as Exhibit D and incorporated herein by reference

5 . The Plaintiffs relate back to, repeat, re~allege, adopt, and incorporate by
reference their Staternent of Clairn, Exhibit A, as though fully set forth herein.

6. This Honorable Court has jurisdiction over the subject matter of this action,
pursuant to 28 U.S.C.A. §1332, in that the amount in controversy exceeds Seventy-Five Thousand
Dollars ($75,000), exclusive of interest and costs, and is between citizens of different states.

7. Venue is proper in the United States District Court for the District of
Maryland, pursuant to 28 U.S.C.A. §1391 as the forum in which a substantial part of the events or
omissions giving rise to the claim occurred The injuries and damages sustained by the Piaintiffs
arose from the negligent and careless acts committed by the Det`endants, individually and through
their real, apparent and/or ostensible agents, servants, and/or employees, in Pocomoke, Worcester
County, Maryland.

THE PARTIES

8. Plaintiff Ronald H. Clarl< is an adult citizen of the State of Delaware and the
surviving spouse of Beatrice F. Clark, deceased

9. Plaintit`f Wanda Woerner is an adult citizen of the State oi`Delaware and the

daughter of Beatrice F. Clarl<, deceased

Case 1:15-cV-02254-ELH Document 1 Filed 07/31/15 Page 4 of 8

l(). On or about December 4, 2014, Ronald H. Clark was appointed Personal
Representative of the Estate of Beatrice F. Clark, by the Register of Wills for New Castle County,
Delaware.

ll. At all times relevantJ Maryland Defendants Your Doc’s In, Chesapeake
Medical Solutions, LLC, Chesapeake Medical Solutions, PA, and J'ohn P. Visioli, D.O. owned
and/or operated an Urgent Care Center at Pocomoke, Maryland, known as Your Doc"s ln, located in
Worcester County, l\/[aryland. In so doing, these Defendants employed doctors, nurses, interns,
technicians, assistants, and other medical personnel over whom Defendants exercised control and
supervisionl

l2. At all times relevant, Defendants held themselves, and the health care
providers they empioyed, out to the public as possessing that degree of skill, expertise, knowledge
and ability ordinarily possessed by reasonably prudent and competent like health care providers

l3. At all times pertinent hereto, Dr. John P. Visioli, was a physician working for,
or on behalf of the corporate defendants, in addition to own interests At all relevant times herein,
Dr. Visioli was working at the Your Doc’s in Urgent Care Center, Pocomoke, l\/laryland.

14. At all relevant times hereto, Dr. Visioli was a health care provider practicing
medicine at the above-referenced medical facility acting within the scope of his employment for or
on behalf of the corporate defendants, as the agent, servant and/or employee of said Defendants.

15. Defendants, Your Doc’s In, Chesapeake l\/ledical Solutions, LLC, Chesapeake
l\/[edical Solutions, PA, are liable for damages caused by the negligent acts and/or omissions of their
agents, servants and/ or employees, acting within the scope of their employment, in accordance with

the law of the place where the acts/omissions occurred Dr. John P. Visioli is independently liable

_4_

Case 1:15-cV-02254-ELH Document 1 Filed 07/31/15 Page 5 of 8

for damages caused by his negligent acts and/or omissions in treating the deceased, Beatrice F.

Clark, Defendants Your Doc’s ln, Chesapeake Medical Solutions, LLC & Chesapeake Medical

Solutions, PA are l\/laryland corporations with a principal place of business in Salisbury, Md.
FACTS COMMON TO ALL COUNTS

16. On the morning of July 6, 2013, PlaintiffRonald H. Clark, brought his wife,
then age 73, to Your Doc’s In, Pocomoke, Maryland from his Horntown VA vacation residence

17. Beatrice F. Clark presented with complaints including shortness of breath,
congestion and constant chest pain for the previous several hours.

18. l\/ls. Clark was treated by Dr. Visioli and found to be in respiratory distressl
Although noted to be on blood pressure control medication_. her initial blood pressure was 99/66,
with a repeat a half hour later of 97/60. Diagnostic and laboratory testing was performed and the
recorded BUN, blood urea nitrogen, level was 23. Oxygen saturation on room air was 92%.

19. Dr. Visioli ordered chest radiographs (x-rays), reached a diagnosis of
community acquired pneumonia, prescribed an outpatient antibiotic, cefuroxirne axetil, for pick up,
and discharged Ms. Clark to home at 1:16 p.m. on .luly 6, 2013, despite Ms. Clark’s poor condition
and the fact that there was minimal relief of Ms. Clark’s symptoms No further testing was orderedl

20. On July 6, 2013, at approximately 5 :30 p.rn. Ronald I-i. Clark found Beatrice
F. Clark had collapsed after a shower. At 5:57 the Greenbackville VFD responded for a cardiac
arrest to Horntown where CPR was being administered to Ms. Clark, l

21 . Beatrice Clark was rushed by ambulance to the emergency room at Peninsula
Regional Medical Center in Salisbury, l\/laryland but ongoing CPR efforts were suspended as the

ambulance neared Salisbury.

Case 1:15-cV-02254-ELH Document 1 Filed 07/31/15 Page 6 of 8

22. As direct and proximate result of Defendants failure to recognize and respond
properly to Ms. Clark’s life-threatening medical condition on July 6, 2013, Beatrice Fontello Clark
was pronounced dead on arrival at Peninsula Regional Medical Center later that day, on July 6, 2013.

COUNT ONE - WRONGFUL DEA'I`H ii

23'. Plaintiffs incorporate by reference herein all of the facts and allegations
contained in paragraphs one through 22 of the Complaint, as if fully set forth herein, and further
allege as follows:

24. ln their care and treatment of Beatrice F. Clark, Defendants, Your Doc’s in,
Chesapeake l\/ledical Solutions, LLC, Chesapeake Medical Solutions, PA & John P. Visioli, D.O.,
directly and through their agents, servants and employees, owed l\/ls. Clark the duty to exercise that
degree of care and skill which reasonably competent health care providers would have exercised
under the same or similar circumstances

25. Defendants, Your Doc’s ln, Chesapeake Medical Solutions, LLC, Chesapeake
Medical Solutions, PA & lohn P. Visioli, D.O., directly and through their agents, servants and
employees, breached that duty, violated the applicable standards of care, and were negligent, in the

following ways, among others:

A. Failing to recognize respond to and treat Ms. Clark’s condition timely;

B. Faiiing to properly monitor Ms. Clark’s condition;

C. Failing to properly evaluate, diagnose and treat Ms. Clark;

D. Failing to recognize the significance of Ms. Clark’s abnormal signs and
symptoms',

E. Failing to order and/or perform appropriate and timely diagnostic tests;

_6_

Case 1:15-cV-02254-ELH Document 1 Filed 07/31/15 Page 7 of 8

F. Failing to properly interpret and respond to the diagnostic tests that were
ordered and performed;

G. Failing to follow-up appropriately to the tests that were performed;

H. Failing to obtain and/or perform appropriate and timely consultations and/or
referrals for Ms. Clark;

l. F ailing to timely assess and treat Ms. Clark’s chest pain, shortness of breath,
low blood pressure and pneumonia properly;

J. Negligently discharging Ms. Clark;

K. Negligently failing to inform Ms. Clark, and/or her husband, of the need to

seek immediate inpatient hospital care in light of the abnormal findings;

L. Failing to train and supervise its agents, servants and/or employees
adequately;
M. Failing to have adequate available staff; and,

Performing other negligent acts and omissions in the care and treatment of
l\/Is. Clark.

26, As a direct and proximate result of the foregoing negligence and the failure to
adhere to the then applicable standards of care, Beatrice F. Clark died and Plaintiffs Ronald H. Clark
and Wanda Woerner have suffered and will continue to suffer great mental anguish, emotional pain
and suffering, loss of companionship, comfort, protectionJ filial care, attention, advice, counsel,
guidance

WHEREFORE, Plaintiffs Ronald H. Clark and Wanda Woerner brings this action

against defendants Your Doc’s in, Chesapeake Medical Solutions, LLC, Chesapeake Medical

_7_

Case 1:15-cV-02254-ELH Document 1 Filed 07/31/15 Page 8 of 8

Solutions, PA & lohn P. Visioli, D.O. for damages in excess of the jurisdictional amount plus
interest and costs
COUNT TWO - SURVIVAL ACTION

27. Plaintiffs incorporate by reference herein all of the facts and allegations
contained in paragraphs one through 26 of the Complaint, as if fully set forth herein, and further
allege as follows:

28. As a further direct and proximate result of the aforementioned negligence
Beatrice Fontello Clark was caused to experience great conscious pain and suffering and incur
medical expenses and her Estate was caused to incur funeral expenses

WHEREFORE, Plaintiff Ronald H. Clark, as Personal Representative of the Estate of
Beatrice F. Clark, brings this action against defendants Your Doc’s ln, Chesapeake Medical
Solutions, LLC, Chesapeake Medical Solutions, PA & lohn P. Visioli, D.O. for damages in excess of

the jurisdictional amount plus interest and costs

Respectfully submitted,

W

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Attorney for Plaintiffs

